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                                    ATTACHMENT A
           Statement of Facts-UNITED   STATES V. CALEB ANDREW BAILEY

       The United States and the Defendant. Caleb Andrew Bailey. stipulate and agree that if this
case proceeded to trial. the United States would prove the facts set forth below beyond a
reasonable doubt. They further stipulate and agree that these are not all of the facts that the
United States would prove if this case proceeded to trial.

         On May 5, 2016, Bureau of Alcohol, Tobacco, Fireanns, and Explosives ("A TF") Special
Agents executed federal search warrants at adjoining properties in Waldorf, Maryland associated
with CALEB ANDREW BAILEY ("BAILEY"), including his residence on Masons Crossing
Road and his childhood home on Christmas Place. At the Masons Crossing residence, law
enforcement located, among other items, an underground bunker containing machine guns,
machine gun manufacturing parts and devices, firearms, explosives, and destructive devices; and
child pomography on electronic devices seized inside and outside the residence, including one
electronic device located within the underground bunker and other items moved from BAILEY's
bedroom at the Masons Crossing residence and hidden in the woods by a minor victim at the
direction of BAILEY. At the Christmas Place residence, in the Defendant's bedroom, law
enforcement recovered an electronic device that contained a hash value that matched hash sets of
images and videos of known child pomography, as well as internet searches indicative of child
pomography.

        A hash value is a series of letters and numbers akin to a digital fingerprint for a particular
image. Each image has a unique hash value. Law enforcement maintains databases of known
child pomography images and videos and the hash values for such images and videos. When law
enforcement seizes an electronic device, law enforcement can compare the hash values of images
and videos found on the device against hash values of known child pomography in law
enforcement databases to determine whether there are any matches.

Count Eleven (Child Pomography Offense) and Obstruction

        On May 5, 2016, ATF agents seized numerous electronic devices from BAILEY's Masons
Crossing residence and BAILEY's room at the Christmas Place residence that were used or
intended to be used to promote the commission of child pomography offenses, including, but not
limited to, a Panasonic Toughbook Laptop Computer, SIN HKYB92883; a Seagate Extemal Hard
Drive, SIN NA4CL51 W; a Sony Vaio Laptop Computer, no SIN; an OK Gear External Hard
Drive, no SIN; and assorted covert recording devices.

         During the execution of the search warrant on May 5, 2016, a 17-year-old minor was
present at BAILEY's Masons Crossing residence. The minor admitted that BAILEY instructed
the minor to remove a Panasonic Toughbook laptop, a Sony camera, and a Seagate external hard
drive from BAILEY's residence and cover them with leaves by a footbridge in the woods behind
the residence. Law enforcement recovered these items.

        On May 17,2016, a forensic analyst with the Department of Homeland Security, Homeland
Security Investigations, conducted a forensic analysis of BAILEY's electronic devices.
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        During a forensic analysis of the Seagate external hard drive found in the woods, agents
located a user created folder entitled "[name of Victim I]" with a subfolder labeled "Hidden
Camera Videos." The folder contained videos that BAILEY surreptitiously recorded of Victim I
using a hidden surveillance camera in several different settings, including a bedroom in BAILEY's
residence and various hotel bathrooms. The videos depict Victim I in various stages of undress.
[n some of the videos, Victim I's genitals are exposed to the camera, and the camera focuses in on
Victim I's genitals. Three of the videos located in the [Victim I]\Hidden Camera Videos folder
on the Seagate hard drive are described as follows:

       OE9FNLI2.asf,    recorded on or about March 15,2015 - this video is two minutes and 36
       seconds long and depicts Victim I standing nude in front of a hotel bathroom countertop
       with his genitals exposed to the camera before he enters the shower. The minor is facing
       the camera.

       OE9FOIJ2.asf,    recorded on or about March 15,2015 - this video is one minute and 41
       seconds long and depicts Victim 1 in a hotel bathroom nude, getting out of the shower,
       with his genitals in full vicw. The camera is focused toward the shower.

       OF2452R2.asf,  recorded on or about January 8, 2016 - this video is approximately 25
       seconds long and depicts Victim 1 urinating with his genitals exposed to the camera.

        On or about March 15,2015, when BAILEY surreptitiously recorded the first two videos
described above, BAILEY and Victim 1 were staying at a Holiday Inn hotel in Camden, South
Carolina near where they were participating in an ATV race as part of the Grand National Cross
Country ("GNCC") amateur racing circuit.

        On or about January 7-8, 2016, when BAILEY surreptitiously recorded the third video
described above, BAILEY and Victim I were staying at a Hilton hotel in Ohio as part of a trip to
Indiana where BAILEY was purchasing a Ford truck for Victim I.

       During these trips, when BAILEY surreptitiously recorded videos of Victim I, Victim I
was under the care, custody, and supervisory control of BAILEY.

        During a forensic analysis of the Seagate external hard drive found in the woods, agcnts
located a user created folder entitled "[name of Victim 2]" with a subfolder labeled "Hidden
Camcra Videos." The folder containcd videos that BAILEY surreptitiously recorded of Victim 2
using a hidden surveillance camera in several different settings, including various hotel bathrooms.
The videos dcpict Victim 2 in these bathrooms in various stages of undress. [n some of the videos,
Victim 2's genitals are exposed to the camera, and the camcra focuses in on Victim 2's genitals.
Two of the videos located in the [Victim 2]\Hidden Camera Videos folder on the Seagate hard
drive are described as follows:

       ODCKTAU2.asf,      recorded on or about March 30, 2014 - this video is two minutes and 50
       seconds long and depicts Victim 2 in a hotel bathroom getting out of the shower nude with
       his genitals exposed to the camera.



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       OEAJ68L2.asf, recorded on or about March 28, 2015 - this video is one minute and 48
       seconds long and depicts Victim 2 in a hotel bathroom nude from the waist down with his
       genitals exposed to the camera.

         When the above-described videos were recorded, BAILEY and Victim 2 were staying at
hotels in connection with their participation in ATV races as part of the GNCC amateur racing
circuit. During these trips, when BAILEY surreptitiously recorded videos of Victim 2, Victim 2
was under the care, custody, and supervisory control of BAILEY.

        Bailey also used hidden cameras to surreptitiously record videos of Victim I and Victim 2
in the bathroom of BAILEY's 2008 Max "Gladiator" recreational vehicle, bearing license plate
number GNCC XC (hereinafter "RV"), with the focus of those videos on the Victims' genitals.

        A forensic analysis of the same Seagate hard drive that contained the Hidden Camera
Videos folders described above also contained a folder called "toy hauler and bedroom." Within
that folder were numerous videos that BAILEY surreptitiously recorded of Victim I and Victim
2 within the bathroom of the RV during trips to and from GNCC races.

        In total, BAILEY recorded over 100 videos capturing the genitals of Victim I and Victim
2 between March 2014 and January 2016. BAILEY also created screen captures of portions of
some of the videos that BAILEY recorded of Victim I and Victim 2. The screen captures depict
Victim I and Victim 2 nude with their genitals exposed. BAILEY saved these videos and video
screen captures on the Seagate hard drive recovered during the execution of the search warrant at
BAILEY's Masons Crossing residence on May 5, 2016.

        In addition to the videos and images of Victim 2 described above, BAILEY also possessed
16 images of Victim 3 taken when Victim 3 was still a minor, including images of Vie tim 3's erect
penis. Victim 3 has a date of birth of xx/xx/I 996. BAILEY stored the images of Victim 3 in a
folder labeled with Victim 3's name on the Seagate hard drive.

        The investigation has revealed that Victim I depicted in these videos was a minor with a
date of birth of xx/xx/I 999. At the time BAILEY surreptitiously recorded these videos of Victim
I in 2015 and 2016, Victim I would have been between 15 and 16 years of age. The investigation
also has revealed that Victim 2 depicted in these videos was a minor with a date of birth of
xx/xx!l999. At the time BAILEY surreptitiously recorded these videos of Victim 2 between 2014
and 2016, Victim 2 would have been between 15 and 17 years of age.

        Bailey produced the surreptitiously recorded videos of Victim I and Victim 2 using
electronic devices that were manufactured outside the state of Maryland. BAILEY also physically
transported hidden cameras outside of Maryland to various hotels at which he stayed with Victim
 I and Victim 2 while competing in GNCC races. As such, BAILEY's production and possession
of the videos was in or affecting interstate or foreign commerce.

        In addition to the videos and video screen captures described above, BAILEY also
possessed other images and videos of child pornography on various electronic devices, including
the OK Gear hard drive located within his bunker, that do not appear to have been produced by


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him, including depictions of prepubescent minors and depictions of sadistic or masochistic conduct
involving minors (bondage). BAILEY's collection of child pornography included more than 2110
images and 54 videos depicting children engaged in sexually explicit conduct.

        Examples of two of the images and one of the videos on the OK Gear hard drive located in
the folder path Photos\Random Boys\Private are described below;

       22 Cute Preteen Boys 10yo Twins Posing Naked Nude Legs.jpg - an image that depicts
       two prepubescent males lying on a bed fully nude with their genitals exposed in the image.

       little 7yo preteen hoy with ereetion.jpg - an image that depicts a prepubescent minor
       male lying on an office chair naked from the waist down exposing his erect penis.

       An example of one of the videos located on the OK Gear hard drive in the folder path
Videos\Boy on boy sex, blow jobs, rape etc is described below:

       KDV - 2 Preteen gay boys.mpg - a video that is four minutes and ten seconds in length
       that depicts two prepubescent minors who take turns performing oral sex and anal sex on
       each other.

The above-described images and videos depict real children engaged in sexually explicit conduct.
These images were downloaded from the Internet and were possessed on electronic devices
manufactured outside the state of Maryland and, therefore, BAILEY possessed the images in and
affecting interstate or foreih'11commerce.

Counts Two through Four (Firearms Offenses)

         Illegal Possession of Machine Guns: During the execution of the May 5, 2016 search
warrant, law enforcement seized the following machine guns and machine gun parts from the
bunker located in BAILEY's basement at his Masons Crossing residence: (I) a modified H&K
Model USC .45 ACP caliber firearm (marked UMP), bearing serial number 47-010716; (2) a
modified MKE Model T94K-A T-94K, 9 millimeter caliber firearm, bearing serial number T0624-
09Z00125; (3) a modified H&K Model USC .45 ACP caliber firearm (marked UMP), bearing
serial number 47-003203; (4) a modified Vector Arms Model V89P, .357 Sig caliber firearm,
bearing serial number P50 085; (5) a modified Coharie Arms Model CA89-357, .357 Sig caliber
firearn1, bearing serial number P50 029; (6) a modified H&K Model USC, 9 millimeter caliber
firearm (marked UMP), bearing serial number 47-009490; (7) a modified Spike's Tactical Model
ST-15, 5.56 caliber firearm, bearing serial number RM-17652; (8) a modified FN Model PS90, 5.7
caliber firearm, bearing serial number FN081426; (9) a modified Spike's Tactical Model ST-15,
5.56 caliber firearm, bearing serial nlllnber RM-18613; (10) a modified Spike's Tactical Model
ST-15, 5.56 caliber firearm, bearing serial number RM-I0815; (II) a modified Spike's Tactical
Model ST-15, 5.56 caliber firearm, bearing serial number RM-186 J I; (12) a modified Vector
Arms Model V94P, 9xl9 millimeter caliber firearm, bearing serial number VZ9 00002; (13) a
modified POF USA Model P-416, 5.56 caliber fireann, bearing serial number 08-00395; and (14)
an Uzi-type machinegun conversion bolt with no serial number.



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        BAILEY    knowingly and illegally possessed the above-listed machine guns and
machinegun parts, frames, or receivers. BAILEY admits that the above-described firearms were
machine guns in that they shoot, or are designed to shoot, or can be readily restored to shoot
automatically more than one shot without manual reloading by a single function of the trigger.

         Receipt and Possession of Unregistered Short-Barrel Rifles: During the execution of the
May 5, 2016 search warrant, law enforcement seized the following short-barreled rifles, that is,
rifles having a barrel length ofless than 16 inches, from the bunker located in BAILEY's basement
at his Masons Crossing residence: (I) a FEG Model SA 2000M, 7.62x39 caliber rifle, bearing
serial number EE11471; (2) a Gunsmoke Enterprises Model MI5-Match, .223/5.56 caliber rifle,
bearing serial number GE03032; (3) a modified Uzi Model A, 9x 19 millimeter caliber rifle,
bearing serial number SA 24486; (4) an Olympic Arms Model M.F.R., 5.56 caliber firearm,
bearing serial number CH 0580; (5) a DC Industries Model NDS-M92, 7.62x39 millimeter rifle,
bearing serial number K1094; (6) an AR-15 type, 5.56 caliber firearm with no serial number; (7)
an Olympic Arms Model M.F.R., 5.56 caliber fireann, bearing serial number SB 7491 with H&K
MR 556 A 1 upper assembly; (8) a Modified H&K Model USC, .45 ACP firearm (marked UMP),
bearing serial number 47-003476; (9) a Gunsmoke Enterprises Model MI5-Match, .223/5.56
caliber rifle, bearing serial number GE02942; (10) a modified IWI Model 45, .45 ACP caliber rifle,
bearing serial number 00340 I; (II) a DPMS Model A-15 rifle, 5.56 caliber, bearing serial number
27347; (12) a modified FN PS90, 5.7 caliber firearm, bearing serial number FN063944; (13) a
modified Coharie Arms Model CA89-40, .40 S&W caliber firearm, bearing serial number DHB
013; and (14) a Rock River Arms Model LAR-15, 5.56 caliber fireann, bearing serial number AC
2023141.

         BAILEY knowingly possessed each of the above-listed short-barreled rifles. BAILEY
knew of the characteristics of the firearms, that is, that they were rifles having barrels with lengths
of less than 16 inches. Each of the above listed short-barreled rifles were or could readily have
been put in operating condition. Moreover, the above-described short-barreled rifles were not
registered to BAILEY in the National Firearms Registration and Transfer Record.

        Receipt and Possession of Unregistered Destructive Devices: During the execution of the
May 5, 2016 search warrant, law enforcement seized the following dcstructive devices from the
bunker located in BAILEY's basement at his Masons Crossing residence: (I) a Penn Arms Model
SL-6-37, 37 millimeter rifle bore launcher, bearing serial number M0330; (2) a Rapid Fire Model
RF203, 40 millimeter !,'Tenadelauncher, bearing serial number 0154; (3) a Penn Arms Model FL 1-
37, single-shot 37 millimeter smooth bore launcher, bearing seriaillumber F 1195; (4) a Spike's
Tactical 37 millimeter smooth bore launcher with no serial number; (5) a Bates & Dittus LLC
Model TBL-37 smooth bore 37 millimeter launcher, bearing serial number 46695 with 26
millimeter insert; (6) a Penn Arms 37 millimeter smooth bore launcher, bearings serial number
FPOIIO; (7) a Bates & Dittus LLC Model TBL-37 smooth bore 37 millimeter launcher, bearing
serial number 46535; (8) a Bates & Dittus LLC Model ExD-37 smooth bore, 37 millimeter
launcher, bearing serial number 02527; (9) a DEF-TEC Corporation 37 millimeter "Gas Gun"
smooth bore launcher, bearing serial number D04822; (10) a Spike's Tactical 37 millimeter
smooth bore launcher with no serial number; (II) a DEF-TEC Corporation 37 millimeter "Gas
Gun" smooth bore launcher, bearing serial number D07914; (12) a Bates & Dittus LLC Model
SML-37 smooth bore launcher, bearing serial number 46561; (13) a M-203 type 37 millimeter


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smooth bore launcher with no serial number; (14) a Spike's Tactical 37 millimeter smooth bore
launcher with no serial number; (15) a Bates & Dittus LLC Model TBL-37 smooth bore, 37
millimeter launcher, bearing serial number 46529; (16) a DEF- TEC Corporation 37 millimeter
"Gas Gun" smooth bore launcher, bearing serial number D06323; (17) a Bates & Dittus LLC
Model TBL-37 smooth bore, 37 millimeter launcher, bearing serial number 46528; (18) a Penn
Arms 37 millimeter smooth bore launcher, bearing serial number FPOI14; (19) a Combined
Tactical Systems Model TL8, 37-38 millimeter smooth bore launcher, bearing serial number CTL
0219; (20) a Penn Arms Model L8-37 millimeter smooth bore six shot launcher, bearing serial
number PA0420; and (21) six AN-MI4 thermite grenades.

       BAILEY knowingly possessed each of the above-listed destructive devices. BAILEY
knew of the characteristics of the firearms, that is, that they were destructive devices. Each of the
above listed destructive devices were or could readily have been put in operating condition.
Moreover, the above-described destructive devices were not registered to BAILEY in the National
Firearms Registration and Transfer Record.

                                                ***
        I have read this Statement of Facts and carefully reviewed every part of it with my attorney.
I understand it, and I voluntarily agree to it. I do not wish to change any part of it.



o!'/lS-/l1
Date
                                              ~~Jk:~
                                              Caleb Andrew Bailey

        We are Caleb Andrew Bailey's attorneys. We have carefully reviewed every part of this
Statement of Facts with him. To our knowledge, his decision to sign it is an informed and
voluntary one.


~::(ff;/p(Or;                                  William C. Brennan, Jr., Es .


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Date                                          Teresa Whalen, Esq.




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